Defendant was convicted of the crime of receiving stolen property. The principal errors assigned deal with the sufficiency of the evidence. Judgment was entered on July 19, 1937. The motion for a new trial was not made until September 27, 1937. The trial court was without jurisdiction to hear the motion, and no question of the sufficiency of the evidence to support the verdict can be considered upon appeal. State v. Mound, 65 S.D. 611,277 N.W. 35; State v. Bowder, 65 S.D. 626, 277 N.W. 43; State v. Bowder, 66 S.D. 43, 278 N.W. 27.
Errors assigned upon the appeal from the judgment have been considered and found to be without merit.
The judgment is affirmed.
All the Judges concur. *Page 221 